      Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 1 of 11




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 EARLENE DOWLER,
                                             CIVIL ACTION NO.
                    Plaintiff,

 v.
                                             JURY TRIAL DEMANDED
 SYNCHRONY BANK and EQUIFAX
 INFORMATION SERVICES, LLC,

                    Defendants.



                                  COMPLAINT
      Plaintiff, Earlene Dowler (hereinafter “Plaintiff”), by and through her

attorneys, the Law Offices of Robert S. Gitmeid & Assoc., PLLC, and by way of

Complaint against Defendants, Synchrony Bank (“Synchrony”) and Equifax

Information Services, LLC (“Equifax”) alleges as follows:

                                 INTRODUCTION

                                        1.

      This is an action for damages brought by an individual consumer for

Defendants’ violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.


                                        1
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 2 of 11




(the “FCRA”) and other claims related to unlawful credit reporting practices. The

FCRA prohibits furnishers of credit information from falsely and inaccurately

reporting consumers’ credit information to credit reporting agencies.

                                    PARTIES

                                         2.

      Plaintiff, Earlene Dowler, is an adult citizen of North Dakota.


                                         3.

      Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.

                                         4.

      Defendant Synchrony is a corporation organized and existing under the laws

of Delaware that furnishes consumer credit information to consumer reporting

agencies.


                                         5.

      Defendant Equifax is a limited liability company that engages in the business

of maintaining and reporting consumer credit information.




                                         2
      Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 3 of 11




                            JURISDICTION AND VENUE

                                          6.

       This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1331 because the rights and obligations of the parties in this action arise

out of 15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provide that an action to

enforce any liability created under 15 U.S.C. § 1681 may be brought in any

appropriate United States District Court, without regard to the amount in

controversy.


                                          7.

       Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(1) because all

defendants are residents of the state of Georgia and because defendant Equifax holds

a principal office in this district.

                             FACTUAL ALLEGATIONS

                                          8.

       Defendant Synchrony issued an account card ending in 2561 to Plaintiff. The

account was routinely reported on Plaintiff’s consumer credit report.




                                          3
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 4 of 11




                                          9.

      The consumer report at issue is a written communication of information

concerning Plaintiff’s credit worthiness, credit standing, credit capacity, character,

general reputation, personal characteristics, or mode of living which serves as a

factor in establishing the consumer’s eligibility for credit to be used primarily for

personal, family, or household purposes as defined by 15 U.S.C. § 1681a(d)(1) of

the FCRA.


                                         10.

      On or about January 10, 2019, Plaintiff and Synchrony entered into a

settlement agreement for the above referenced account. A copy of the settlement

agreement is attached hereto as Exhibit A.


                                         11.

      Pursuant to the terms of the settlement, Plaintiff was required to make three

payments totaling $2,086.95 to settle and close her Synchrony credit account.

                                         12.

      Plaintiff, via her debt settlement representative, timely made the requisite

settlement payments.




                                          4
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 5 of 11




                                          13.

      However, over a year later, Plaintiff’s Synchrony account continued to be

negatively reported.

                                          14.

      In particular, on a requested credit report dated July 10, 2020, Plaintiff’s

Synchrony account was reported with a status of “CHARGE OFF”, and a balance of

$108.00. The relevant portion of Plaintiff’s credit report is attached hereto as Exhibit

B.

                                          15.

      This trade line was inaccurately reported. As evidenced by the enclosed

documents, the account was settled for less than full balance and must be reported

as settled with a balance of $0.00.


                                          16.

      On or about October 19, 2020, Plaintiff, via her attorney, notified Equifax

directly of a dispute with completeness and/or accuracy of the reporting of Plaintiff’s

Synchrony account. A redacted copy of this letter is attached hereto as Exhibit C.




                                           5
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 6 of 11




                                          17.

       Therefore, Plaintiff disputed the accuracy of the derogatory information

reported by Synchrony to Equifax via certified mail in accordance with 15 U.S.C. §

1681i of the FCRA.


                                          18.

       In December 2020, Plaintiff requested an updated credit report for review.

The tradeline for Plaintiff’s Synchrony account remained inaccurate, as Defendants

failed to correct the inaccuracy. The relevant portion of the December 2020 credit

report is attached hereto as Exhibit D.

                                          19.

       Equifax did not notify Synchrony of the dispute by Plaintiff in accordance

with the FCRA; or alternatively Equifax did notify Synchrony, who then failed to

properly investigate and delete the tradeline or properly update the tradeline on

Plaintiff’s credit reports.

                                          20.

       If Synchrony had performed a reasonable investigation of Plaintiff’s dispute,

Plaintiff’s Synchrony account would have been updated to reflect a “settled” status

with a balance of $0.00.


                                          6
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 7 of 11




                                         21.

      Despite the fact that Synchrony has promised through its subscriber

agreements or contracts to accurately update accounts, Synchrony has nonetheless

willfully, maliciously, recklessly, or negligently failed to follow this requirement as

well as the requirements set forth under the FCRA. This has resulted in the intended

consequences of this information remaining on Plaintiff’s credit reports.

                                         22.

      Defendants failed to properly maintain and failed to follow reasonable

procedures to assure maximum possible accuracy of Plaintiff’s credit information

and Plaintiff’s credit report concerning the account in question, thereby violating the

FCRA. These violations occurred before, during, and after the dispute process

began with Equifax.

                                         23.

      At all times pertinent hereto, Defendants were acting by and through their

agents, servants or employees, who were acting within the scope and course of their

employment, and under the direct supervision and control of the Defendants herein.




                                          7
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 8 of 11




                                         24.

      At all times pertinent hereto, the conduct of Defendants, as well as that of their

agents, servants or employees, was malicious, intentional, willful, reckless, or

negligent and in wanton disregard for federal law and the rights of the Plaintiff

herein.


                               CLAIM FOR RELIEF

                                         25.

      Plaintiff reasserts and incorporates herein by reference all facts and

allegations set forth above.

                                         26.

      Equifax is a “consumer reporting agency,” as codified at 15 U.S.C. § 1681a(f).

                                         27.

      Synchrony is an entity who, regularly and in the course of business, furnishes

information to one or more consumer reporting agencies about its transactions or

experiences with any consumer and therefore constitutes a “furnisher,” as codified

at 15 U.S.C. § 1681s-2.




                                          8
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 9 of 11




                                         28.

      Synchrony is reporting inaccurate credit information concerning Plaintiff to

one or more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

                                         29.

      Plaintiff notified Defendants directly of a dispute on the account’s

completeness and accuracy as reported.


                                         30.

      Synchrony failed to complete an investigation of Plaintiff’s written dispute

and provide the results of an investigation to Plaintiff and the credit bureaus within

the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).


                                         31.

      Synchrony failed to promptly modify the inaccurate information on Plaintiff’s

credit report in violation of 15 U.S.C. § 1681s-2(b).

                                         32.

      Equifax failed to delete information found to be inaccurate, reinserted the

information without following the FCRA, or failed to properly investigate Plaintiff’s

disputes.




                                          9
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 10 of 11




                                         33.

      Equifax failed to maintain and failed to follow reasonable procedures to assure

maximum possible accuracy of Plaintiff’s credit report, concerning the account in

question, violating 15 U.S.C. § 1681e(b).


                                         34.

      As a result of the above violations of the FCRA, Plaintiff suffered actual

damages in one or more of the following categories: lower credit score, denial of

credit, embarrassment and emotional distress caused by the inability to obtain

financing for everyday expenses, rejection of credit card application, higher interest

rates on loan offers that would otherwise be affordable, and other damages that may

be ascertained at a later date.


                                         35.

      As a result of the above violations of the FCRA, Defendants are liable to

Plaintiff for actual damages, punitive damages, statutory damages, attorney’s fees

and costs.


     WHEREFORE, Plaintiff demands that judgment be entered against

Defendants as follows:




                                         10
     Case 1:21-cv-00505-LMM-RDC Document 1 Filed 02/02/21 Page 11 of 11




      (a)    That judgment be entered against Defendants for actual damages

             pursuant to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;

      (b)    That judgment be entered against Defendants for punitive damages

             pursuant to 15 U.S.C. § 1681n;

      (c)    That the Court award costs and reasonable attorney's fees pursuant to

             15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and

      (d)    That the Court grant such other and further relief as may be just and

             proper.

                        DEMAND FOR JURY TRIAL

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands trial by jury in this action of all issues so triable.


                                         Respectfully Submitted,

                                         Law Offices of Robert S. Gitmeid &
                                         Associates, PLLC

                                         /s/ William Thomas Hoover
                                         William Thomas Hoover
                                         GA Bar No. 819305
                                         william.h@gitmeidlaw.com
                                         30 Wall Street, 8th Floor #741
                                         New York, NY 10005
                                         Tel: (866) 249-1137
                                         Fax: (877) 366-4747
                                         Counsel for Plaintiff



                                           11
